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                                   IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION

UNITED STATES OF AMERICA,                                 §
                                                          §
                                     Plaintiff,           §
                                                          §
VS.                                                       §      CRIMINAL NO. H-98-429-6
                                                          §
MELVIN DWAYNE OSBORNE, JR.,                               §
                                                          §
                                     Defendant.           §
                                                          §
(Civil Action No. H-05-1157)                              §

                                                MEMORANDUM AND OPINION

            In this motion under 28 U.S.C. § 2255, filed in April 2005, Melvin Dwayne Osborne,

Jr. asserts that when he pleaded guilty in December 1999 to an indictment charging him with

conspiracy to possess cocaine and cocaine base with the intent to distribute, his trial and

appellate counsel provided ineffective assistance. Osborne claims that counsel should have

objected to the sentence on the ground that it was based on amounts of drugs not alleged in

the indictment or stipulated in the plea, in violation of Apprendi v. New Jersey, 530 U.S. 466

(2000), Blakely v. Washington, 542 U.S. 296 (2004), and United States v. Booker, 125 S. Ct.

738 (2005). (Docket Entry Nos. 248, 252). The government has moved to dismiss or for

summary judgment, arguing that this motion is barred by limitations; the plea agreement

waived his appellate and collateral challenge rights; and alternatively, that he fails to present

a basis on which the relief can be granted. Based on the pleadings; the parties’ submissions;

the record; and the applicable law, this court GRANTS the government’s motion for
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summary judgment and, by separate order, enters final judgment in this case. The reasons

are set out below.

I.          Background

            At the rearraignment, Osborne entered a plea of guilty to the count alleging conspiracy

to possess cocaine and cocaine base with the intent to distribute. Osborne agreed to waive

his right to appeal or to file a collateral challenge, except under certain circumstances that

he does not allege to be present: a sentence above the guideline range or above the statutory

maximum. At sentencing, Osborne received a 235-month sentence, which was within the

guideline range that applied. He was granted leave to file an out-of-time appeal. Appellate

counsel filed a brief under Anders v. California, 386 U.S. 738 (1967). The Fifth Circuit

affirmed the conviction and sentence. Osborne filed this motion on April 5, 2005.

II.         Analysis

            Section 2255 provides in relevant part that:

                         [a] prisoner in custody under sentence of a court established
                         by Act of Congress claiming the right to be released upon the
                         ground that the sentence was imposed in violation of the
                         Constitution or laws of the United States, or that the court
                         was without jurisdiction to impose such sentence, or that the
                         sentence was in excess of the maximum authorized by law,
                         or is otherwise subject to collateral attack, may move the
                         court which imposed the sentence to vacate, set aside or
                         correct the sentence.

28 U.S.C. § 2255. “Section 2255 provides the primary means of collateral attack on a

federal sentence. Relief under this section is warranted for any error that occurred at or

prior to sentencing.” Cox v. Warden, Federal Detention Center, 911 F.2d 1111, 1113 (5th

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Cir. 1990) (internal quotations and citations omitted). A section 2255 motion requires

an evidentiary hearing unless the motion, the files, and the record conclusively show the

prisoner is entitled to no relief. United States v. Bartholomew, 974 F.2d 39, 41 (5th Cir.

1992). A claim of ineffective assistance of counsel may be raised for the first time in

a 28 U.S.C. § 2255 motion. See Massaro v. United States, 538 U.S. 500, 509 (2003). In

Massaro, the Supreme Court concluded that ineffective-assistance claims should not be

subject            to       “the         usual   procedural       default   rule,”   and   held   that   “an

ineffective-assistance-of-counsel claim may be brought in a collateral proceeding under §

2255, whether or not the petitioner could have raised the claim on direct appeal.” Id. at 504.

            To prevail on a claim of ineffective assistance of counsel, a petitioner must show that

his counsel’s actions fell below an objective standard of reasonableness and petitioner

suffered prejudice as a result. Strickland v. Washington, 466 U.S. 668 (1984); Martin v.

Cain, 246 F.3d 471, 477 (5th Cir. 2001). The district court may dispose of a claim if counsel

either rendered reasonably effective assistance or no prejudice can be shown. A court

evaluating a claim of ineffective assistance need not address the reasonableness component

first. If a petitioner fails to make one of the required showings, the court need not address

the other. Strickland, 466 U.S. at 697.

            In assessing the reasonableness of counsel’s performance, the court must indulge a

strong presumption that the performance falls within the “wide range of reasonable

professional assistance” and that “the challenged action might be considered sound trial

strategy.” Strickland, 466 U.S. at 689; Gray v. Lynn, 6 F.3d 265, 268 (5th Cir. 1993). If

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counsel’s action is based on well-informed strategic decisions, it is “well within the range

of practical choices not to be second-guessed.” Rector v. Johnson, 120 F.3d 551, 564 (1997)

(quoting Wilkerson v. Collins, 950 F.2d 1054, 1065 (5th Cir. 1992), cert. denied, 509 U.S.

921 (1993)). Effective assistance of appellate counsel does not mean that counsel will raise

every available nonfrivolous ground for appeal. See Evitts, 469 U.S. at 394; West v. Johnson,

92 F.3d 1385, 1396 (5th Cir. 1996). Rather, it means, as it does at trial, that counsel performs

in a reasonably effective manner. See Evitts, 469 U.S. at 394. A reasonable attorney has an

obligation to research relevant facts and law and make informed decisions as to whether

avenues will, or will not, prove fruitful. See Strickland, 466 U.S. at 690-91.

            As to the prejudice portion of the inquiry, a convicted defendant must show that there

is a reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different. Green v. Johnson, 160 F.3d 1029, 1043 (5th Cir.

1998) (citing Lockhart v. Fretwell, 506 U.S. 364, 369 (1993)). When a claim of ineffective

assistance of counsel is premised on counsel’s failure to raise an issue on appeal, “the

prejudice prong first requires a showing that the appellate court would have afforded relief

on appeal.” United States v. Reinhart, 357 F.3d 521, 530 (5th Cir. 2004)(quoting United

States v. Phillips, 210 F.3d 345, 348 (5th Cir.2000)).

            Osborne’s claims center on the fact that his indictment did not allege the drug quantity

and he did not stipulate to the drug quantity on which his sentence was based. Osborne’s

claim, filed on April 5, 2005, is untimely. Osborne asserts that the one-year limitations

period under section 2255, which would have required him to file this motion no later than

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March 20, 2003, is extended or tolled as a result of the Supreme Court’s opinions in Blakely

v. Washington, 542 U.S. 296 (2004), and, presumably, United States v. Booker, 126 S. Ct.

738 (2005).

            In Blakely, the Supreme Court applied the rule in Apprendi v. New Jersey, 530 U.S.

466, 490 (2000), which requires that, “[o]ther than the fact of a prior conviction, any fact that

increases the penalty for a crime beyond the prescribed statutory maximum must be

submitted to a jury, and proved beyond a reasonable doubt.” On January 12, 2005, the

Supreme Court extended this ruling, in United States v. Booker, 125 S. Ct. 738, 749 (2005),

after finding “no distinction of constitutional significance between the Federal Sentencing

Guidelines” and the state sentencing scheme at issue in Blakely. The Supreme Court held

that the mandatory character of the Sentencing Guidelines was incompatible with the Sixth

Amendment right to a jury trial. Id., 125 S. Ct. at 749-50. Although Blakely rests on

Apprendi, which holds that all facts used to increase a sentence beyond the statutory

maximum must be charged and proven to a jury, Blakely presented a new statement of

“statutory maximum” for sentencing: “[T]he relevant ‘statutory maximum’ is not the

maximum sentence a judge may impose after finding additional facts, but the maximum he

may impose without any additional findings.” Blakely, 124 S. Ct. at 2537 (emphasis in

original). Before Blakely, every federal circuit court of appeals had held that Apprendi did

not apply to Sentencing Guideline calculations based on judicial fact findings, as long as the

sentence was imposed within the statutory maximum as determined by the United States



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Code.1 By contrast, the statutory maximum under Blakely “is the maximum sentence a judge

may impose solely on the basis of facts reflected in the jury verdict or admitted by the

defendant.” 124 S. Ct. at 2537 (emphasis in original). After Blakely was decided, courts

divided as to whether its holding applied to the Sentencing Guidelines. This question was

resolved when the Supreme Court held in Booker that the rule in Blakely applied to the

Sentencing Guidelines. The Court in Booker extended the holding in Apprendi with the

following modification: “Any fact (other than a prior conviction) which is necessary to

support a sentence exceeding the maximum authorized by the facts established by a plea of

guilty or a jury verdict must be admitted by the defendant or proved to a jury beyond a

reasonable doubt.” Id., 125 S. Ct. at 756.

            Osborne appears to argue that the one-year limitation period was extended to begin

on January 12, 2005 by the Court’s decisions in Blakely and Booker. Section 2255(3) states

that the one-year limitations period under AEDPA begins to run at “the date on which the

right asserted was initially recognized by the Supreme Court, if that right has been newly

recognized by the Supreme Court and made retroactively applicable to cases on collateral

review.” 28 U.S.C. § 2255(3)(emphasis added); see Dodd v. United States, 125 S.Ct. 2478,

2485 (2005)(the limitations period runs from the date on which the right asserted was

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       See, e.g., United States v. Hughes, 369 F.3d 941, 947 (6th Cir. 2004); United States v.
Francis, 367 F.3d 805, 820 (8th Cir. 2004); United States v. Jardine, 364 F.3d 1200, 1209 (10th Cir.
2004); United States v. Alvarez, 358 F.3d 1194, 1211-12 (9th Cir. 2004); United States v. Phillips,
349 F.3d 138, 143 (3rd Cir. 2003): United States v. Patterson, 348 F.3d 218, 228-29 (7th Cir. 2003);
United States v. Randle, 304 F.3d 373, 378 (5th Cir. 2002); United States v. Sanchez, 269 F.3d 1250,
1268 (11th Cir. 2001); United States v. Webb, 255 F.3d 890, 898 (D.C. Cir. 2001); United States v.
Angle, 254 F.3d 514, 518 (4th Cir. 2001); United States v. Caba, 241 F.3d 98, 100 (1st Cir. 2001);
United States v. Garcia, 240 F.3d 180, 183-84 (2d Cir. 2001).

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initially recognized by the Supreme Court).

            Neither Blakely nor Booker was expressly “made retroactively applicable to cases on

collateral review” by the Supreme Court. To the contrary, every circuit court of appeals to

address this question has agreed that Booker is not applicable to collateral challenges filed

under 28 U.S.C. § 2255. See In re Elwood, 408 F.3d 211 (5th Cir. 2005)(holding that the

“Supreme Court has not made Booker retroactive to any cases on collateral review.”);

McReynolds v. United States, 397 F.3d 479, 481 (7th Cir. 2005) (“We conclude . . . that

Booker does not apply retroactively to criminal cases that became final before its release on

Jan. 12, 2005.”); Humphress v. United States, 398 F.3d 855, 856 (6th Cir. 2005) (rejecting

an initial § 2255 motion and holding that Booker does not apply retroactively to cases already

final on direct review); Varela v. United States, 400 F.3d 864, 868 (11th Cir. 2005)

(“Booker’s constitutional rule falls squarely under the category of new rules of criminal

procedure that do not apply retroactively to § 2255 cases on collateral review.”). A section

2255 movant cannot take refuge in the limitations period set out at paragraph 6(3) to raise

a late challenge under Blakely or Booker.

            Alternatively, even viewed on the merits, Osborne has failed to show that any of the

substantive claims he seeks to raise under section 2255 would entitle him to the relief he

seeks. The record reveals no basis to find ineffective assistance, as Osborne asserts. His

primary claims relate to the effect of Booker errors, which are not applicable retroactively.

Although Apprendi had been decided before Osborne was sentenced, and although his

counsel raised it at sentencing, his claims do not allege facts that would sustain an Apprendi


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claim.2 Osborne was sentenced within the statutory maximum that applied to him and that

was explained to him in detail before he pleaded guilty, waiving his right to appeal or file a

collateral challenge.                      See United States v. McKinney, 406 F.3d 744, 746-47 (5th

Cir.2005)(“Blakely and Booker do not alter the plain meaning of appeal-waiver provisions

in valid plea agreements”). As a result, Osborne has not shown a basis to find either deficient

performance or prejudice.

             A certificate of appealability is required before an appeal may proceed. See Hallmark

v. Johnson, 118 F.3d 1073, 1076 (5th Cir.) (noting that actions filed under either 28 U.S.C.

§ 2254 or § 2255 require a certificate of appealability), cert. denied sub nom. Monroe v.

Johnson, 522 U.S. 1003 (1997). “This is a jurisdictional prerequisite because the COA

statute mandates that ‘[u]nless a circuit justice or judge issues a certificate of appealability,

an appeal may not be taken to the court of appeals . . . .’” Miller-El v. Cockrell, 537 U.S. 322,

336 (2003) (citing 28 U.S.C. § 2253(c)(1)). A certificate of appealability will not issue

unless the petitioner makes “a substantial showing of the denial of a constitutional right,” 28

U.S.C. § 2253(c)(2), which requires a petitioner to demonstrate “that reasonable jurists would

find the district court’s assessment of the constitutional claims debatable or wrong.” Tennard

v. Dretke, 124 S. Ct. 2562, 2569 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484

(2000)). A petitioner must show “that reasonable jurists could debate whether (or, for that



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  Drug trafficking crimes defined in 21 U.S.C. § 841 are governed by Apprendi analysis because
of the tiered sentences for increasing quantities of illegal drugs. See United States v. Cotton, 535
U.S. 625 (2002); United States v. Longoria, 298 F.3d 367 (5th Cir. 2002). Defendants charged with
offenses involving an unspecified drug quantity, are subject to a maximum of twenty years’
imprisonment. § 841(b)(1)(C). Osborne received a 235-month sentence.
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matter, agree that) the petition should have been resolved in a different manner or that the

issues presented were ‘adequate to deserve encouragement to proceed further.’” Miller-El,

537 U.S. at 336. A district court may deny a certificate of appealability, sua sponte, without

requiring further briefing or argument. See Alexander v. Johnson, 211 F.3d 895, 898 (5th

Cir. 2000). This court concludes that jurists of reason would not debate whether the movant

has stated a valid claim, or whether any procedural ruling in this case was correct.

Accordingly, a certificate of appealability will not issue.

III.        Conclusion

              Osborne’s section 2255 motion is denied and the corresponding civil action is

dismissed with prejudice. A certificate of appealability is denied. Final judgment will issue

by separate order.

                         SIGNED on July 20, 2005.


                                                    ______________________________________
                                                               Lee H. Rosenthal
                                                          United States District Judge




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